20-22476-rdd          Doc 368        Filed 05/26/20 Entered 05/26/20 12:06:00                       Main Document
                                                  Pg 1 of 5



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                 )
    In re:                                                       )     Chapter 11
                                                                 )
    FRONTIER COMMUNICATIONS                                      )     Case No. 20-22476 (RDD)
    CORPORATION, et al.,1                                        )
                                                                 )
                                       Debtors.                  )     (Jointly Administered)
                                                                 )

                      FINAL ORDER (I) AUTHORIZING
         THE DEBTORS TO HONOR CERTAIN PREPETITION OBLIGATIONS
      TO CUSTOMERS AND CONTINUE CERTAIN CUSTOMER PROGRAMS IN
    THE ORDINARY COURSE OF BUSINESS AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Final Order”), (a) authorizing the

Debtors to maintain and administer the Customer Programs and honor certain prepetition

obligations related thereto, and (b) granting related relief, all as more fully set forth in the Motion;

and upon the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York, dated January 31, 2012, as a

core proceeding pursuant to 28 U.S.C. § 157(b) that this Court may decide by a final order

consistent with Article III of the United States Constitution; and this Court having found that venue

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and, following the interim hearing

on the Motion, the Court having entered an Interim Order granting the Motion on an interim basis;


1     The last four digits of Debtor Frontier Communications Corporation’s tax identification number are 9596. Due to
      the large number of debtor entities in these chapter 11 cases, for which the Court has ordered joint administration,
      a complete list of the debtor entities and the last four digits of their federal tax identification numbers are not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
      noticing agent at https://cases.primeclerk.com/ftr. The location of the Debtors’ service address for purposes of
      these chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York 10606.
2      Capitalized terms used herein but not otherwise defined have the meanings ascribed to them in the Motion.
20-22476-rdd      Doc 368      Filed 05/26/20 Entered 05/26/20 12:06:00             Main Document
                                            Pg 2 of 5



and due and proper notice of the entry of the Interim Order and the Motion’s request for final relief

and the hearing thereon having been provided, and no other notice thereof being required; and

upon the record of the final hearing held by the Court on May 22, 2020 and all of the proceedings

herein; and there being no objections to the relief granted herein; and, after due deliberation, this

Court having determined that the legal and factual bases set forth in the Motion and at the hearings

establish good and sufficient cause for the relief granted herein, in that such relief provides a

material net benefit to the Debtors’ estates and creditors after taking into account the Bankruptcy

Code’s priority scheme, and for the other reasons stated by the Court in its bench ruling at the

hearings; now, therefore, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The Debtors are authorized, but not directed, to continue the Customer Contracts

and honor all obligations related thereto, including obligations that arose prior to the Petition Date.

       3.      The Debtors are authorized, but not directed, to continue to administer the

Customer Programs in effect and, applying the factors set forth in the Motion and at the hearings

to inform their reasonable business judgment, honor any prepetition obligations related to the

Customer Programs, in each case, in the ordinary course of business on a postpetition basis.

       4.      The Debtors shall provide the official committee of unsecured creditors

(the “Committee”) with a monthly report of all payments made pursuant to this Final Order.

       5.      Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

validity of any particular claim against the Debtors; (b) a waiver of the Debtors’ or the

Committee’s rights to dispute any particular claim on any grounds; (c) a promise or requirement

to pay any particular claim; (d) an implication or admission that any particular claim is of a type


                                                  2
20-22476-rdd      Doc 368     Filed 05/26/20 Entered 05/26/20 12:06:00            Main Document
                                           Pg 3 of 5



specified or defined in this Final Order or the Motion; (e) a request or authorization to assume any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

limitation of the Debtors’ or the Committee’s rights under the Bankruptcy Code or any other

applicable law; or (g) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) satisfied pursuant to the Motion are valid, and the Debtors and the

Committee expressly reserve their rights to contest the extent, validity, or perfection or seek

avoidance of all such liens. Any payment made pursuant to this Order is not intended and should

not be construed as an admission as to the validity of any particular claim or a waiver of the

Debtors’ rights to subsequently dispute such claim.

       6.      The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented

for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this Final Order

without any duty of further inquiry and without liability for following the Debtors’ instructions.

       7.      The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with the relief granted herein.

       8.      Nothing contained in the Motion or this Final Order, and any actions taken pursuant

to such relief, is intended or should be construed to create an administrative priority claim on

account of any of the Customer Contracts or Customer Programs.




                                                 3
20-22476-rdd      Doc 368     Filed 05/26/20 Entered 05/26/20 12:06:00            Main Document
                                           Pg 4 of 5



       9.      Notwithstanding the relief granted in this Final Order, any payment made by the

Debtors pursuant to the authority granted herein shall be subject to and in compliance with any

orders entered by the Court approving the Debtors’ entry into any postpetition debtor in possession

financing facility and any budget in connection therewith and/or authorizing the Debtors’ use of

cash collateral and any budget in connection therewith.

       10.     Notwithstanding the relief granted in this Final Order, any payment made by the

Debtors pursuant to the authority granted herein shall be subject to any order authorizing use of

cash collateral or postpetition financing.

       11.     For the avoidance of doubt, other than as relating to approval or consent to entry of

this Final Order (or the proposed form hereof), any consent or approval rights of the parties to the

Restructuring Support Agreement shall remain in force unaffected from and after entry of this

Final Order, solely to the extent the Restructuring Support Agreement remains in effect.

       12.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       13.     Notwithstanding anything to the contrary, the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry, sufficient cause having been

established.

       14.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.




                                                 4
20-22476-rdd     Doc 368     Filed 05/26/20 Entered 05/26/20 12:06:00             Main Document
                                          Pg 5 of 5



       15.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.

Dated: May 26, 2020                          /s/Robert D. Drain
       White Plains, New York                THE HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




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